Case 3:18-cv-02442-AET-TJB Document 6-3 Filed 03/06/18 Page 1 of 5 PageID: 485




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY
                                  TRENTON VICINAGE


 901 ERNSTON ROAD LLC,                                 CASE NO. 3:18-cv-02442

                      Plaintiff,
                                                          CERTIFICATION OF DR. DENI
                          v.                          CARISE IN SUPPORT OF PLAINTIFF’S
                                                        APPLICATION FOR AN ORDER TO
                                                         SHOW CAUSE WHY THE COURT
 BOROUGH OF SAYREVILLE ZONING                         SHOULD NOT ISSUE A PRELIMINARY
 BOARD OF ADJUSTMENT; and                              INJUNCTION DIRECTING ISSUANCE
 BOROUGH OF SAYREVILLE,                               OF NECESSARY ZONING APPROVALS
                                                       AND ENJOINING DISCRIMINATORY
                     Defendants.                                  CONDUCT

                                                            (Document filed electronically)


       Deni Carise, of full age, hereby certifies as follows:

      1.       I am the Chief Scientific Officer of Recovery Centers of America, LLC (“RCA”),

the owner and parent company of 901 Ernston Road LLC, Plaintiff in the above-captioned action.

I have personal knowledge of the facts set forth herein and I am authorized to make this

Certification in support of Plaintiff’s application for preliminary injunction.

      2.       Plaintiff is an affiliate of RCA, which is a private, for-profit company whose

mission is to provide neighborhood-based recovery campuses for patients suffering from drug and

alcohol addiction.

      3.       RCA has assembled a team of leading industry and academic professionals who,

collectively, have designed an innovative addiction treatment model to improve patient outcomes

by extending the length of treatment while offering a full range of patient services in an integrated

healthcare campus environment.

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Case 3:18-cv-02442-AET-TJB Document 6-3 Filed 03/06/18 Page 2 of 5 PageID: 486
Case 3:18-cv-02442-AET-TJB Document 6-3 Filed 03/06/18 Page 3 of 5 PageID: 487
Case 3:18-cv-02442-AET-TJB Document 6-3 Filed 03/06/18 Page 4 of 5 PageID: 488
Case 3:18-cv-02442-AET-TJB Document 6-3 Filed 03/06/18 Page 5 of 5 PageID: 489
